Case 2:04-cv-02041-BBD-dkv Document 67 Filed 08/15/05 Page 1 of 3 Page|D 86
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IN THE UNITED sTATEs DISTRICT COLH%PU@ 15 F" 3’ 23
FoR THE WESTERN DISTRICT 01= Tisi\n\nsssi§@)MAS M wm

WESTERN DIVISION am U{S_ r_j,§g`rp;_\rj COURT
WlD GF 'il\;` lsi:l,l?l'll$

AMEER XENO FLIPPIN,

Plaintiff, Case No.: 04-2041 D

V.
STATE OF TENNESSEE, et al.,

Defendants.

 

ORDER REGARDING DOCUMENT NO. 62

 

It appears that the court has entered a order disposing of the complaint Accordingly, the

motion for protective order is moot, as the relief is subsumed by the final order.

IT ls so oRDERED this / ;'/"` day 0£@‘ ,¢¢g ,2005.

E ICE BoUn'a rioNALD `
UNITED sTATEs DISTRICT JUDGE

t entered on the docket sheet fn compliance
… ad asu/or 79(3) FRoP on X'/§Q'Q‘"=g

 

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US DISTRICT COURT

